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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY


TJNfl’ED STATES OF AMERICA :                         Hon. Stanley It Chesler

                                                     Crim. No. 09-501(SRC)
      V.


ROBINSON BORDAMONTE, et al.:                         0RDER

                                      x


        This Court having reviewed the pretrial motions filed by defendant Peter Ventricelli

(Michael Pedicini, Esq., appearing), the response of the government thereto, and the cross-

application of the government for reciprocal discovery, and the Court having held oral argument

on these motions on September 9, 2009, in the presence of Ralph J. Marra, Jr. Acting United

States Attorney for the District ofNew Jersey (Leslie Faye Schwartz, Assistant U.S. Attorney,

appearing), and defendants Robinson Bordamonte (Raymond F. Flood, Esq., appearing), Kelvin

Corbin, (Christopher Renfroe, Esq., appearing), Leo Genese ifi (Pasquale F. Giannetta, Esq.,

appearing), Peter Ventricelli (Michael Pedicini, Esq., appearing) and Debora Medciros DaSilva

(Joseph R. Donahue, Esq., appearing), and the Court having considered the arguments of

counsel and the motion papers, and for all the reasons expressed by the Court at the September 9,

2009 hearin&

       IT IS ORDERED THAT:

       1) Inasmuch as the government recognizes its obligations under Brady v. Maryland to

produce exculpatory materials, defendant Peter Ventricelli’s motion for Brady material is denied

as moot;.


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        2) Defendants are not entitled to production of Jencks material until after a witness has

testified at trial, therefore, defendant Peter Ventricelli’s motion for early production of Jencks

material is denied;.

        3) Defendant Peter Ventricelli’s motion for early disclosure of Giglio material, i.e.,

materials tending to affect the credibility of a witness, is granted to the extent that the

government is directed to provide Giglio material to the defendants five days before the

witness’ trial testimony;

        4) The government has indicated that it has instructed the law enforcement agents in this

case to preserve interview notes and handwritten draft reports, if any, therefore defendant Peter

Ventricelli’s motion compelling law enforcement agents to preserve these materials is denied as

moot;

        5) Defendant Peter Ventricelli’s motion for disclosure of Rule 404(b) evidence prior to

trial is granted to the extent that the government is directed to provide the defendants with notice

of the general nature of any Rule 404(h) evidence ten days prior to trial; and

        6) The motion of the government for reciprocal discovery from all defendants is granted.




                                                      TA LEY R CHESLER
                                               United States District Judge
